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            EXHIBIT C
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                       Mark H Kolman, Esq
                      9483 E Ironwood Bend
                       Scottsdale, AZ 85255
                           480-268-9025

                            January 28, 2022

Official Tort Claimants' Committee
c/o Kirk Pasich, Esq.

Re: In re: Boy Scouts of America et. al.
     United States Bankruptcy Court for the District of Delaware
     Case No. 20-10343 (LSS)

Dear Mr. Pasich:

    Itemized billing invoice for my expert services, from
December 30, 2021 through January 26, 2022 provided by Mark H
Kolman in the above-captioned matter:

December 30, 2021
    Communications w I counsel re: supplemental reports from
Whittman and Gutzler (.4), Review of Gutzler and Whittman
supplemental reports (1.0), Redraft Rebuttal Report responding to
updated and supplemental reports from Whittman and Gutzler
(1.7)
                            3.1

December 31, 2021
    Revise and recalculate and send Rebuttal Report (2.0)
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                            2.0

January 3, 2022
    Communications w/ counsel re: rebuttal report (.6), Review
Gutzler and Whittman report - work on draft rebuttal report (1.5)
                       2.1
January 6, 2022
    Review relevant portions of rebuttal reports of Gutzler, Judd
and Whittman (1.5)
                       1.5

January 11, 2022
     Email and T/C Schulman re: prep for deposition 1/26/22 (.4)
                         .4
January 20, 2022
     Prepare for deposition - review Whittman and Gutzler
reports (1.2)
                         1.2
January 21, 2022
     Conf Call Schulman - prepare for deposition (2.4), review
documents preparing for deposition (1.0)
                         3.4
January 22, 2022
     Prepare for deposition (1.5)
                         1.5
January 23, 2022
     Review reports, charts and documents - prepare for
deposition (2.1)
                         2.1
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January 25, 2022
      Study/prepare - review documents and notes for deposition
(2.5), Conf call Schulman to prepare for deposition (.8)
                          3.2

January 26, 2022
    Deposition (8.0)
                            8.0

               Total hours 28.5 X $500 = $14,250



Previous invoice -$21,250.00 (unpaid)
Current invoice - $14,250.00 (upaid)
Total unpaid -    $35,500.00

                                  Very Truly Yours,

                                                - ~
                                  Mark H. Kolman, Esq.
